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 5   Attorneys for Plaintiff
     THANE CHARMAN
 6
     [Additional Counsel on Signature Page]
 7
 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
     THANE CHARMAN, individually and                    Case No. 3:21-CV-00302-L-KSC
11   on behalf of others similarly situated,
                                                        JOINT MOTION TO DISMISS
12                          Plaintiff,
                                                        PLAINTIFF’S CLAIMS AGAINST
13                 v.                                   DEFENDANT NP, INC. PURSUANT
                                                        TO FED. R. CIV. P. 41(a)(1)(A)(ii)
14   NP, INC. d/b/a USMTG; and
     RESOURCE MARKETING CORP.,
15   LLC,
16                          Defendants.
17
18   Defendant NP, INC., dba US
     MORTGAGE OF CALIFORNIA
19   (erroneously sued and served as NP, Inc.
     dba USMTG),
20
                            Cross-Claimant,
21
                   v.
22
     RESOURCE MARKETING CORP.,
23   LLC,

24                          Cross-Defendant.

25           Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
26   plaintiff Thane Charman (“Plaintiff”) and defendant NP, Inc. d/b/a US Mortgage of
27   California (erroneously sued and served as NP, Inc. dba USMTG) (“NP”), through
28                                                  1
                        JOINT MOTION TO DISMISS PLAINTIFF’S CLAIMS AGAINST NP, INC.
     125572691.1
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 1   their respective counsel, jointly move for dismissal of Plaintiff’s individual claims
 2   against NP with prejudice and dismissal of the putative class claims without prejudice.
 3   Plaintiff and NP shall bear his/its own attorneys’ fees and costs.
 4           The action remains pending as against defendant Resource Marketing Corp.,
 5   LLC.
 6
 7   Dated: October 18, 2021                    KAZEROUNI LAW GROUP, APC
 8                                              By s/ Jason A. Ibey
 9                                                 JASON A. IBEY

10                                                   Attorneys for Plaintiff
11                                                   THANE CHARMAN

12
     Dated: October 18, 2021                    FOX ROTHSCHILD LLP
13
                                                By s/ Matthew Follett
14                                                 MATTHEW FOLLETT
15
                                                     Attorneys for Defendant/Cross-
16                                                   Claimant NP, INC., dba US
17                                                   MORTGAGE OF
                                                     CALIFORNIA (erroneously sued and
18                                                   served as NP, Inc. dba USMTG)
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                     JOINT MOTION TO DISMISS PLAINTIFF’S CLAIMS AGAINST NP, INC.
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 8   CALIFORNIA (erroneously sued and served as
 9   NP, Inc. dba USMTG)

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                   JOINT MOTION TO DISMISS PLAINTIFF’S CLAIMS AGAINST NP, INC.
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 1                            SIGNATURE CERTIFICATION
 2           Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
 3   Policies and Procedures Manual, I hereby certify that the content of this document is
 4   acceptable to Matthew Follett, and that I have obtained Mr. Follett’s authorization to
 5   affix his electronic signature to this document.
 6
 7   Dated: October 18, 2021                    KAZEROUNI LAW GROUP, APC
 8                                              By s/ Jason A. Ibey
 9                                                 JASON A. IBEY

10                                                   Attorneys for Plaintiff
11                                                   THANE CHARMAN

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                     JOINT MOTION TO DISMISS PLAINTIFF’S CLAIMS AGAINST NP, INC.
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